Case 5:16-cv-10444-JEL-MKM ECF No. 235 filed 10/27/17   PageID.8728   Page 1 of 5




                 UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF MICHIGAN
                      SOUTHERN DIVISION


 In re Flint Water Cases.               Judith E. Levy
                                        United States District Judge

 ________________________________/

  ORDER REGARDING ISSUES DISCUSSED AT THE OCTOBER
            25, 2017 STATUS CONFERENCE

       The Court held a status conference regarding its Flint water

 litigation on October 25, 2017. Pursuant to the discussion held at that

 conference, the Court orders as follows:

       1. Defendants will submit a proposal regarding the appointment

          of liaison counsel or an executive committee for defendants on

          or before November 1, 2017. That proposal is to be submitted

          in Case No. 16-cv-10444.

       2. Interim class counsel for plaintiffs and defense counsel are to

          meet and confer and file a report on Case No. 16-cv-10444 by no

          later than November 13, 2017, regarding the following issues:

            a. The establishment of a common repository for documents

               produced in this Flint water litigation;
Case 5:16-cv-10444-JEL-MKM ECF No. 235 filed 10/27/17    PageID.8729    Page 2 of 5




            b. The       establishment       of   an   Electronically    Stored

               Information protocol;

            c. A third-party preservation order; and

            d. The provision of insurance disclosures by defendants.

            e. The content of proposed fact sheets, the plaintiffs whom

               each side believes should have to complete the fact sheets,

               and a timeframe for distributing and completing the fact

               sheets.

       3. Defendant Leo A. Daly and plaintiffs in all cases in which Leo

          A. Daly has been named will submit a stipulated order to the

          Court    regarding    the   duration     and   content   of    limited

          jurisdictional discovery on or before November 1, 2017. The

          order is to identify every case in which Leo A. Daly has been

          named as a defendant, and will be entered on each of those

          cases.

       4. Defendants asserting Fifth Amendment protections against

          participation in discovery will submit supplemental briefing

          regarding that issue on or before November 9, 2017. Interim

          class counsel will respond to that briefing on or before


                                         2
Case 5:16-cv-10444-JEL-MKM ECF No. 235 filed 10/27/17   PageID.8730   Page 3 of 5




          November 20, 2017. Briefing is not to exceed twenty pages

          per brief, and will be submitted on Case No. 16-cv-10444.

       5. Class plaintiffs will submit a properly captioned complaint with

          Nancy Peeler added as a named defendant by October 27,

          2017.

       6. In Boler v. Earley, the United States Court of Appeals for the

          Sixth Circuit determined that the State defendants did not

          waive their sovereign immunity despite arguably defending

          their case on the merits in federal court and participating and

          settlement negotiations. Boler, 865 F.3d 381, 410-411 (6th Cir.

          2017). “The standard for finding Eleventh Amendment waiver

          is a stringent one.” Id. at 411 (citing Vaqueria Tres Monjitas,

          Inc. v. Pagan, 748 F.3d 21, 21 (1st Cir. 2014)).        The Sixth

          Circuit contrasted the State defendants’ conduct with the

          conduct of the state of Tennessee in Ku v. Tennessee, where

          Tennessee waived sovereign immunity “by engaging in

          substantial discovery, filing a motion for summary judgment,

          and only raising an Eleventh Amendment defense after an




                                      3
Case 5:16-cv-10444-JEL-MKM ECF No. 235 filed 10/27/17   PageID.8731   Page 4 of 5




          adverse ruling on the summary judgment motion.” Id. at 410

          (citing Ku, 322 F.3d 431, 435 (6th Cir. 2003)).

          The Court requests supplemental briefing from all defendants

          claiming the defense of sovereign immunity.          That briefing

          should discuss the applicability of Boler, Ku, and any other

          relevant precedent on this issue, and whether providing

          already-produced documents in a case where those parties have

          previously asserted their immunity (see, e.g., Dkt. 79) would

          serve to waive sovereign immunity. Briefing is not to exceed

          fifteen pages per defendant, is to be submitted on Case No. 16-

          cv-10444, and is due on or before November 9, 2017.

          Plaintiffs may respond no later than November 20, 2017, and

          their response, if any, shall be no longer than fifteen pages.

       7. The Court will continue the October 25, 2017 hearing on

          November 15, 2017 at 10:00 A.M. in Courtroom 1 in Ann

          Arbor, Michigan. A revised agenda will be distributed in all




                                      4
Case 5:16-cv-10444-JEL-MKM ECF No. 235 filed 10/27/17   PageID.8732   Page 5 of 5




          Flint water cases by November 9, 2017.

       IT IS SO ORDERED.

 Dated: October 27, 2017                  s/Judith E. Levy
 Ann Arbor, Michigan                      JUDITH E. LEVY
                                          United States District Judge



                      CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was served
 upon counsel of record and any unrepresented parties via the Court’s
 ECF System to their respective email or First Class U.S. mail addresses
 disclosed on the Notice of Electronic Filing on October 27, 2017.

                                          s/Shawna Burns
                                          SHAWNA BURNS
                                          Case Manager




                                      5
